               Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 1 of 8




                           3 the Sniteb Statefs flitritt Court
                           for the boutbern flitrttt of deoria
                                   Jgrunftick flthiion
              ERIC DOVE,                          *
                                                  *
                   Plaintiff,                     *
                                                  *
                   V.                             *               CV 213-163
                                                  *
              CHARLES FRANCIS GRANTIER and        *
              CRETE CARRIER CORP.,                *
                                                  *
                   Defendants.                    *



                                               ORDER

                   This matter comes before the Court on Plaintiff Eric Dove's

              ("Plaintiff's") failure to comply with several Court orders

              requiring that he respond to the Notion for Summary Judgment

              filed by Defendants Charles Francis Grantier ("Grantier") and

              Crete Carrier Corporation ("Crete Carrier") . For the following

              reasons, the Court finds that Plaintiff has failed to prosecute

              his claims and, therefore, DISMISSES this action without

              prejudice at this time. Accordingly, Defendants' Notion for

              Summary Judgment (dkt. no. 32) is DISMISSED as moot.

                                        FACTUAL BACKGROUND

                   On May 17, 2012, Plaintiff was involved in an automobile

              accident with Defendant Grantier, an employee of Defendant Crete

              Carrier, in Kingsland, Georgia. Dkt. No. 1-1, ¶I 8-9.

AU 72A
(Rev. 8/82)
                   Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 2 of 8



                  Plaintiff filed suit against Defendants in the Superior Court of

                  Camden County on October 1, 2013, id. at pp. 4, 6, and

                  Defendants removed the action to this Court on November 15,

                  2013, dkt. no. 1. Plaintiff seeks damages from Defendants,

                  alleging that Defendant Grantier was negligent in causing the

                  accident and Defendant Crete Carrier is vicariously liable for

                  Defendant Grantier's actions. Dkt. No. 1-1, 191 8-12.

                       On July 2, 2014, Plaintiff's counsel filed a Notion to

                  Withdraw as counsel of record, see dkt. nos. 25, 28, which the

                  Court granted in an Order dated September 22, 2014, dkt. no. 31.

                  In that Order, the Court directed that all subsequent

                  correspondence and filings be served upon Plaintiff at his

                  residence. See Dkt. No. 31. In addition, the Court stayed all

                  deadlines in this case for a period of sixty days to permit

                  Plaintiff time to retain new counsel. Id. However, as of the

                  date of this Order, no counsel has entered an appearance on

                  Plaintiff's behalf.

                       On January 15, 2015, Defendants filed a Motion for Summary

                  Judgment. Dkt. No. 32. The Court issued a Notice on January

                  16, 2015, which advised Plaintiff of his obligation to respond

                  to Defendants' Motion for Summary Judgment on or before February

                  8, 2015, or else face possible dismissal of his claims. Dkt.

                  No. 33. Specifically, the Court's Notice stated as follows:




AU 72A
(Rev. 8/82)   I                                       2
               Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 3 of 8



                   Federal Rule of Civil Procedure 56 governs summary
                   judgment motions. You should consult this rule as
                   well as the Local Rules for the Southern District of
                   Georgia, especially Local Rule 56.1. Pursuant to
                   Rules 5 & 6 of the Federal Rules of Civil Procedure, a
                   response is due within 21 days of service, if proper
                   service was made by hand delivery. IF YOU DO NOT
                   RESPOND AS DIRECTED IN THIS NOTICE, THE COURT MAY
                   ENTER A FINAL JUDGMENT AGAINST YOU WITHOUT A FULL
                   TRIAL OR ANY OTHER PROCEEDINGS.

              Id. Notwithstanding this instruction, Plaintiff did not file

              any response in opposition to Defendants' Motion for Summary

              Judgment, or otherwise notify the Court of his intent not to

              oppose such Motion, by the designated deadline.

                   On April 10, 2015, the Court entered an Order directing

              Plaintiff to show cause, within fourteen days, why he had failed

              to file a response to Defendants' Motion for Summary Judgment,

              as instructed by the Court's Notice. Dkt. No. 34.

              Significantly, the Court forewarned Plaintiff that a failure to

              demonstrate good cause for his nonresponse could result in a

              dismissal of his claims. Id. Nevertheless, to date, Plaintiff

              has not filed a response to the Court's show cause Order.

                                             DISCUSSION

                   A district court may dismiss a plaintiff's claims sua

              sponte pursuant to either Federal Rule of Civil Procedure 41(b)

              ("Rule 41(b)") or the court's inherent authority to manage its

              docket. Coleman v. St. Lucie Cty. Jail, 433 F. App'x 716, 718

              (11th Cir. 2011) (citing Fed. R. Civ. P. 41(b) and Betty K



AO 72A
(Rev. 8/82)                                       3
               Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 4 of 8



                 ncies, Ltd. v. N/V NONADA, 432 F.3d 1333, 1337 (11th Cir.

              2005)) .   In particular, Rule 41(b) allows for the involuntary

              dismissal of a plaintiff's claims where he has failed to

              prosecute those claims, comply with the Federal Rules of Civil

              Procedure or local rules, or follow a court order. Fed. R. Civ.

              P. 41(b); see also Coleman, 433 F. App'x at 718; Sanders v.

              Barrett, No. 05-12660, 2005 WL 2640979, at          *1 (11th Cir. Oct.

              17, 2005) (citing Kilgo v. Ricks, 983 F.2d 189, 192 (11th Cir.

              1993)); cf. Local R. 41.1(b)       ("[T]he assigned Judge may, after

              notice to counsel of record, sua sponte . . . dismiss any action

              for want of prosecution, with or without prejudice[,]

              [based on] willful disobedience or neglect of any order of the

              Court." (emphasis omitted)) .      Additionally, a district court's

              "power to dismiss is an inherent aspect of its authority to

              enforce its orders and ensure prompt disposition of lawsuits."

              Brown v. Tallahassee Police Dept, 205 F. App'x 802, 802 (11th

              Cir. 2006) (quoting Jones v. Graham, 709 F.2d 1457, 1458 (11th

              Cir. 1983)).

                    A dismissal with prejudice for failure to prosecute is a

              "sanction . . . to be utilized only in extreme situations."

              Thomas v. Montgomery Cty. Bd. of Educ., 170 F. App'x 623, 625-26

              (11th Cir. 2006) (quoting Norewitz v. West of Eng. Ship Owners

              Nut. Prot. & Indem. Ass'n (Lux.), 62 F.3d 1356, 1366 (11th Cir.

              1995)) . Accordingly, a court may impose such a sanction only


AU 72A
(Rev. 8/82)                                       4
               Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 5 of 8



              upon "(1) concluding a clear record of delay or willful contempt

              exists; and (2) making an implicit or explicit finding that

              lesser sanctions would not suffice." Id. at 626; see also

              Taylor v. Spaziano, 251 F. App'x 616, 619 (11th Cir. 2007)

              (citing Morewitz, 62 F.3d at 1366). By contrast, a dismissal

              without prejudice for failure to prosecute is not an

              adjudication on the merits, and, therefore, courts are afforded

              greater discretion in dismissing claims in this manner. Taylor,

              251 F. App'x at 619; see also Coleman, 433 F. App'x at 719;

              Brown, 205 F. App'x at 802-03.

                   Plaintiff has not engaged in such a "clear pattern of

              willful contempt" so as to warrant a dismissal of his claims

              with prejudice at this time. Cf. Thomas, 170 F. App'x at 624 &

              n.1, 626 (upholding a dismissal with prejudice, where the

              plaintiff had engaged in a "clear pattern of willful contempt"

              by ignoring four court orders to file an amended complaint and

              failing to appear at two mandatory conferences) . Nevertheless,

              Plaintiff neglected to respond in any way to Defendants' Motion

              for Summary Judgment by the February 8, 2015, deadline, as

              required by Local Rule 7.5 and the Court's Notice. See Local R.

              7.5 ("Unless these rules or the assigned Judge prescribes

              otherwise, each party opposing a motion shall serve and file a

              response within fourteen (14) days of service of the motion,

              except that in cases of motions for summary judgment the time

AU 72A
(Rev. 8/82)                                       5
               Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 6 of 8



              shall be twenty-one (21) days after service of the motion.");

              Dkt. No. 33. Further, Plaintiff disregarded the Court's

              unequivocal instruction to show cause for his failure to respond

              within fourteen days of the April 10, 2015, Order. See Dkt. No.

              34. Importantly, Plaintiff failed to make the requisite filings

              despite the Court's repeated warnings that such conduct could

              result in a dismissal of this case. See Dkt. Nos. 33-34.

                   Now roughly seven months past the deadline for responding

              to Defendants' Motion for Summary Judgment, and almost five

              months past the deadline to show cause, Plaintiff still has not

              submitted these or any other filings and has not contacted the

              Court at any time. Under these circumstances, a dismissal

              without prejudice for failure to prosecute is warranted. See,

              e.g., Jenkins v. Bedard, No. 2:12-CV-74-FTM-29UAM, 2013 WL

              6182091, at *1 (M.D. Fla. Nov. 25, 2013) (action subject to

              dismissal for failure to prosecute where pro se plaintiff failed

              to respond to defendants' motion for summary judgment and to

              court's related show cause order); Mahon v. White, No. CIV.A.

              12-0658-KD-C, 2013 WL 3513045, at *1 (S.D. Ala. July 11, 2013)

              (same); Torrence v. Picerne Dev., No. 5:10-CV-412 CAR, 2012 WL

              689853, at *2 (M.D. Ga. Mar. 2, 2012) (same); of. Pierce v. City

              of Miami, 176 F. App'x 12, 15 (11th Cir. 2006) (reversing a

              dismissal for failure to prosecute where the plaintiff had not

              responded to a motion for summary judgment but had "responded to

AO 72A
(Rev. 8/82)                                       6
                      Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 7 of 8



                  the order to show cause one day after the time period expired,

                  and explained that he had not received the order until then").'

                                                    CONCLUSION

                          Eased on the foregoing, Plaintiff's Complaint (dkt. no. 1-

                  1) is hereby DISMISSED without prejudice for failure to

                  prosecute. Accordingly, the Clerk of Court is DIRECTED to enter

                  the appropriate judgment of dismissal and to CLOSE this case.




                  1
                    The Court notes that "where the statute of limitations will bar
                  future litigation of an action dismissed without prejudice," the
                  dismissal operates "as if it was with prejudice." Muhammad v.
                  Muhammad, 561 F. App'x 834, 836 (11th Cir. 2014) (citing Gray v. Fid.
                  Acceptance Corp., 634 F.2d 226, 227 (5th Cir. 1981)). While Georgia
                  recognizes a two-year statute of limitations for personal injury
                  actions, see O.C.G.A. § 9-3-33, Georgia's renewal statute permits a
                  plaintiff to refile certain actions outside the limitations period,
                  see id. § 92-2-61(a). Specifically, the renewal statute provides that
                  when a plaintiff files a cause of action within the applicable statute
                  of limitations and later discontinues or dismisses the case, he may
                  then refile it "either within the original applicable period of
                  limitations or within six months after the discontinuance or
                  dismissal, whichever is later." Id. § 9-2-61 (a) . Relevant here is
                  that "[it is well-established that a dismissal by the trial court for
                  want of prosecution is deemed a voluntary dismissal for purposes of
                  O.C.G.A. § 9-2-61(a)," such that the plaintiff may later refile his
                  claims outside the limitations period in accordance with the renewal
                  statute. White v. KFC Nat'l Mgmt. Co., 493 S.E.2d 244, 245-46 (Ga.
                  Ct. App. 1997) (citing Swartzel v. Garner, 387 S.E.2d 359 (Ga. Ct.
                  App. 1989), Fowler v. Aetna Cas. & Sur. Co., 283 S.E.2d 69 (Ga. Ct.
                  App. 1981), and Douglas v. Kelley, 158 S.E.2d 441 (Ga. Ct. App.
                  1967)) (finding that the trial court's dismissal of the plaintiff's
                  negligence claims without prejudice for failure to prosecute was a
                  "voluntary dismissal" permitting the plaintiff to refile his claims
                  after the limitations period expired) . Thus, notwithstanding the
                  passage of time since the accident giving rise to Plaintiff's tort
                  claims, Georgia law provides for the refiling of these claims outside
                  the limitations period following a dismissal for want of prosecution.
                  Accordingly, this case does not present any statute of limitations
                  concerns that might impact the prejudicial effect of this ruling.



AU 72A
(Rev. 8/82)   I                                          7
               Case 2:13-cv-00163-LGW-RSB Document 35 Filed 09/22/15 Page 8 of 8



              The Clerk of Court is further DIRECTED to serve a copy of this

              Order upon Plaintiff.



                   SO ORDERED, this 22ND day of September, 2015.




                                                LISA GODBEY WOOD, CHIEF JUDGE
                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF GEORGIA




AU 72A
(Rev. 8/82)                                       8
